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                                                                         4                                   UNITED STATES DISTRICT COURT

                                                                         5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                                                         7     FITBIT, INC.,                                        Case No. 17-cv-00079-EMC

                                                                         8                     Plaintiff,
                                                                                                                                    ORDER DEFERRING DEFENDANTS’
                                                                         9             v.                                           MOTION TO DISMISS OR TRANSFER;
                                                                                                                                    GRANTING PLAINTIFF’S MOTION
                                                                         10    LAGUNA 2, LLC, et al.,                               FOR PRELIMINARY INJUNCTION;
                                                                                                                                    GRANTING DEFENDANTS’ MOTION
                                                                         11                    Defendants.                          TO FILE UNDER SEAL; AND
                                                                                                                                    DEFERRING RULING ON
                                                                         12                                                         PLAINTIFF’S MOTION TO FILE
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                                                                                                                                    UNDER SEAL
                                                                         13
                                                                                                                                    Docket Nos. 42, 46, 50
                                                                         14

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                                                                         16           Currently pending before the Court are several motions: (1) the L2 Defendants‟ motion to
                                                                         17   dismiss or transfer; (2) Fitbit‟s motion for a preliminary injunction; (3) the L2 Defendants‟ motion
                                                                         18   to file under seal; and (4) Fitbit‟s motion to file under seal. The Court held a hearing on the
                                                                         19   motions on February 23, 2017. This order memorializes the Court‟s oral rulings made at the
                                                                         20   hearing and provides additional analysis, as necessary.
                                                                         21   A.      L2 Defendants‟ Motion to Dismiss or Transfer
                                                                         22           The L2 Defendants argue for dismissal of the instant case or, in the alternative, transfer
                                                                         23   because of the pending action in the District of New Jersey. The requested relief is premature and
                                                                         24   will be deferred. The New Jersey court has pending before it a motion to dismiss for lack of
                                                                         25   personal jurisdiction. If the New Jersey court concludes that it lacks personal jurisdiction over
                                                                         26   Fitbit (the defendant in that case), then that action would be moot. On the other hand, if the New
                                                                         27   Jersey court finds it has personal jurisdiction, it may address the propriety of transferring this case
                                                                         28   to New Jersey.
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                                                                         1            The decision whether to transfer this case should be made by the New Jersey court under

                                                                         2    the first-to-file rule. The New Jersey action was filed first, and there is an overlap in parties and

                                                                         3    issues; both suits arise out of L2‟s allegedly unauthorized sale of Fitbit products. See generally

                                                                         4    Carefusion 202, Inc. v. Tres Tech Corp., No. C-13-2194 EMC, 2013 U.S. Dist. LEXIS 109146, at

                                                                         5    *1-2 (N.D. Cal. Aug. 2, 2013) (discussing factors considered in deciding whether to apply the

                                                                         6    first-to-file rule). To the extent Fitbit protests that there are exceptions to the first-to-file rule that

                                                                         7    have viability here (i.e., convenience considerations weigh against transfer and L2‟s lawsuit in

                                                                         8    New Jersey must be deemed an anticipatory action), those arguments should be presented to the

                                                                         9    New Jersey court (assuming it finds personal jurisdiction), and not this Court. See id. at *4-5

                                                                         10   (noting that arguments regarding convenience are to be addressed by the court in the first-filed

                                                                         11   action; then concluding that exceptions to the first-to-file rule – i.e., bad faith, anticipatory suit,

                                                                         12   and/or forum shopping – should also be entertained by the first court because “[i]t would
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                                                                         13   contravene the purpose of the first-to-file rule (i.e., to avoid inconsistent results and promote

                                                                         14   efficiency) for the second court to make a ruling on whether an exception applies” and “there is

                                                                         15   nothing to indicate that this Court is in a better position than the [first] court to consider the

                                                                         16   exceptions”).

                                                                         17   B.      Fitbit‟s Motion for a Preliminary Injunction

                                                                         18           To the extent the L2 Defendants suggest that Fitbit should file a counterclaim and have the

                                                                         19   New Jersey court decide the issue of temporary/preliminary injunctive relief, the Court does not

                                                                         20   agree. While the jurisdictional challenge is pending, Fitbit risks waiver should it now assert a

                                                                         21   counterclaim in New Jersey. See, e.g., Blockowicz v. Williams, 630 F.3d 563, 566 (7th Cir. 2010)

                                                                         22   (noting that the defense is waived “if the objecting party proceeds to litigate the case on its

                                                                         23   merits”); Lakeview Nerorehab. Ctr., Inc. v. Care Realty, LLC, No. 07-cv-303-SM, 2008 U.S. Dist.

                                                                         24   LEXIS 42315, at *9 (D.N.H. May 28, 2008) (stating that, by requesting affirmative relief,

                                                                         25   defendants submitted themselves to the jurisdiction of the court); Mallard v. Mallard, No. 90 C

                                                                         26   3335, 1992 U.S. Dist. LEXIS 2346, at *14-15 (N.D. Ill. Mar. 3, 1992) (distinguishing a case

                                                                         27   because, there, the defendants asked for and received preliminary injunctive relief by obtaining

                                                                         28   injunctions against the plaintiffs).
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                                                                         1              As for the merits, previously, the Court issued a temporary restraining order (“TRO”) and

                                                                         2    then expanded the scope of the TRO. See Docket Nos. 24, 31, 41 (orders and minutes1). In

                                                                         3    advance of the February 23 hearing as to whether, in effect, the TRO should be converted into a

                                                                         4    preliminary injunction, both parties submitted supplemental papers and evidence in support

                                                                         5    thereof. See Docket No. 46 (L2 Defendants‟ supplemental papers and accompanying

                                                                         6    submissions); Docket No. 50 (Fitbit‟s responsive papers and accompanying submissions).

                                                                         7              Having considered both the papers and evidence previously submitted and the newly

                                                                         8    submitted papers and evidence, the Court concludes that a preliminary injunction, consisting of the

                                                                         9    same terms as the TRO, is warranted. Contrary to what the L2 Defendants suggested at the

                                                                         10   hearing, Fitbit need not present a “buttoned-up” case or show entitlement to summary judgment in

                                                                         11   order to obtain preliminary injunctive relief.2 Relief is appropriate because there are serious

                                                                         12   questions going to the merits – indeed a reasonable likelihood of success – and the balance of
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                                                                         13   hardships tips sharply in Fitbit‟s favor.

                                                                         14             More specifically, there are serious questions going to the merits, particularly to the extent

                                                                         15   L2 is selling scrap product, because, if the product is in fact scrap, there is arguably no authorized

                                                                         16   first sale which would render the first sale doctrine inapplicable. Cf. Grateful Palate Inc. v.

                                                                         17   Joshua Tree Imps., LLC, 220 Fed. Appx. 635, 637 (9th Cir. 2007) (stating that, “[u]nder the first

                                                                         18   sale doctrine, the mark holder may ordinarily control the initial sale of the product, and a product

                                                                         19   sold without the authorization of the mark holder is generally deemed non-genuine”).

                                                                         20   Furthermore, if the product is in fact scrap, it could well be materially different (although L2

                                                                         21   disputes this fact) which would also render the first sale doctrine inapplicable. See SoftMan

                                                                         22   Prods. Co. v. Adobe Sys., 171 F. Supp. 2d 1075, 1091 (C.D. Cal. 2001) (stating that “[a] materially

                                                                         23   different product is not genuine”); see also Hokto Kinoko Co. v. Concord Farms, Inc., 810 F.

                                                                         24   Supp. 2d 1013, 1025 (C.D. Cal. 2011) (noting that “[m]aterial differences can relate to a product‟s

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                                                                         26   1
                                                                                  The minutes erroneously stated that the Court would issue a detailed order.
                                                                         27   2
                                                                                The L2 Defendants have not really objected to preliminary injunctive relief to the extent it
                                                                         28   matches the original scope of the TRO issued by the Court. The L2 Defendants‟ real beef is with
                                                                              the expanded scope of the TRO – i.e., the screening requirement.
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                                                                         1    quality control standards”); Idaho Potato Comm’n v. G&T Terminal Pkg., Inc., 425 F.3d 708, 721-

                                                                         2    22 (9th Cir. 2005) (stating that “many cases have found a likelihood of confusion where a

                                                                         3    trademark owner was prevented from exercising quality control over the merchandise bearing its

                                                                         4    mark” and that “„the actual quality of the goods is irrelevant‟” as “„it is the control of quality that a

                                                                         5    trademark holder is entitled to maintain‟”).

                                                                         6            The balance of hardships also weighs in favor of Fitbit – particularly if the product being

                                                                         7    sold by L2 is scrap. Although L2 claims hardship if temporary injunctive relief were to be

                                                                         8    ordered, it is not clear from the record that Fitbit product is the only kind of product that L2 sells.

                                                                         9    Moreover, the relief being ordered by the Court is limited in nature which lessens the hardship on

                                                                         10   L2; it can sell the Fitbit products so long as they were not designated as scrap and meet certain

                                                                         11   labeling conditions. Finally, it is worth noting – as Fitbit points out – that after the Court

                                                                         12   expanded the scope of the TRO to include the screening requirement, L2 apparently never asked
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                                                                         13   Fitbit to screen any of the product it wanted to sell. This cuts against L2‟s claim of injury.

                                                                         14           For the foregoing reasons, the Court converts the TRO previously issued (including the

                                                                         15   expanded scope) into a preliminary injunction. As the Court stated at the hearing, this does not

                                                                         16   preclude the L2 Defendants from asking for modification and/or termination of the preliminary

                                                                         17   injunction is there is a legal and evidentiary basis for seeking such relief; nor is this order intended

                                                                         18   to bind the New Jersey court in any way should the case be transferred.

                                                                         19   C.      Confidentiality Designations and Protective Order

                                                                         20           The Court grants the L2 Defendants‟ motion to file under seal. There is a basis to seal

                                                                         21   because of the confidential nature of the statements of work. The Court‟s ruling does not address

                                                                         22   the potential dispute between the parties as to whether the statements of work should be

                                                                         23   designated “attorney‟s eyes only” or “regular” confidential.

                                                                         24           The Court defers ruling on Fitbit‟s motion to file under seal as it is still waiting for a

                                                                         25   supporting declaration from the L2 Defendants. To the extent Fitbit has claimed confidentiality

                                                                         26   over some of the information at issue, the Court is inclined to grant the motion, with one

                                                                         27   exception. More specifically, it is hard pressed to understand why Exhibit E to the Bonham

                                                                         28   declaration is confidential. The explanation provided by Fitbit to date is not satisfactory.
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                                                                         1    Accordingly, to the extent Fitbit, in good faith, believes that Exhibit E should be filed under seal,

                                                                         2    the Court orders it to file a more specific declaration within two days of the date of this order.

                                                                         3            Finally, the parties shall meet and confer to reach agreement on the terms of a protective

                                                                         4    order. If there is a dispute about the terms, the parties shall file a joint brief addressing what terms

                                                                         5    are in dispute and providing each side‟s proposed language as to the disputed terms. The parties

                                                                         6    shall file the proposed protective order or, if there are disputed terms, a joint brief within one

                                                                         7    week of the date of this order.

                                                                         8    D.      Discovery

                                                                         9            As discussed at the hearing, as a general matter, the Court shall await the New Jersey

                                                                         10   court‟s ruling on Fitbit‟s motion to dismiss for lack of personal jurisdiction before it decides how

                                                                         11   this case should proceed. Notwithstanding such, as discussed at the hearing, the Court shall

                                                                         12   permit narrowly tailored, focused discovery – e.g., discovery directed as to who is the supplier or
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                                                                         13   distributor of the product at issue and whether a sale by a third party of refurbished products was

                                                                         14   authorized by Fitbit.

                                                                         15   E.      Fitbit‟s Motion for a Temporary Restraining Order Against the CR Defendants

                                                                         16           To the extent Fitbit seeks any temporary or preliminary injunctive relief against the Cali

                                                                         17   Resources Defendants, it shall file a motion for such relief by March 2, 2017. The Cali Resources

                                                                         18   Defendants shall file their opposition to the motion by March 16, 2017. Absent an order of the

                                                                         19   Court, there shall be no reply. The motion shall be heard on March 29, 2017, at 10:30 a.m.

                                                                         20           Fitbit shall serve a copy of this order on the Cali Resources Defendants within two

                                                                         21   days of the date of this order. In addition, Fitbit shall immediately give the Cali Resources

                                                                         22   Defendants telephonic and email notice of the anticipated motion for injunctive relief.

                                                                         23           This order disposes of Docket Nos. 42 and 46.

                                                                         24           IT IS SO ORDERED.

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                                                                         26   Dated: February 24, 2017

                                                                         27                                                     ______________________________________
                                                                                                                                EDWARD M. CHEN
                                                                         28                                                     United States District Judge
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